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                          UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

   IN RE:                                         :       CHAPTER 7
                                                  :
   NEW VISION REALTY &                            :       CASE NO. 21-55752-PMB
   INVESTMENTS, INC.,                             :
                                                  :       JUDGE BAISIER
            Debtor.                               :


                                      REPORT OF SALE
            COMES NOW S. Gregory Hays, the Chapter 7 Trustee in the above-captioned

   matter, and files this Report of Sale pursuant to Bankruptcy Rule 6004(f), and shows the

   Court as follows:

                                                 1.

            On June 14, 2022, the Trustee sold real property of the estate known as 2562

   Meadow Lark Drive, East Point, GA 30344 (“Property”) to Rezwanul Islam Rajib and

   Nuri Fatema (“Purchasers”) for $407,000.00 as ordered and approved by the Court on

   June 10, 2022 [Doc. No. 104].

                                                 2.

            Attached hereto as Exhibit “A” is the Seller’s Settlement Statement from the sale.

   The Trustee reports that he has completed the delivery of the Property to the Purchasers

   and has received net funds of $270,467.95 from the sale with all unpaid, valid, and

   enforceable liens, claims, interests, and encumbrances attaching to the sale proceeds with

   the same extent, validity, and priority that they held in the Property.
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         Respectfully submitted this 22nd day of June, 2022.

                                                         /s
                                                     S. Gregory Hays
   Hays Financial Consulting, LLC                    Chapter 7 Trustee
   2964 Peachtree Road, N.W., Suite 555
   Atlanta, Georgia 30305
   (404) 926-0060
   ghays@haysconsulting.net
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                                   Exhibit “A”
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                                CERTIFICATE OF SERVICE

          I, S. Gregory Hays, certify that I am over the age of 18 and that on this date, I
   served a copy of the foregoing Report of Sale by first class U.S. Mail, with adequate
   postage prepaid on the following persons or entities at the addresses stated and upon all
   the following persona or entities at the addresses stated:

           Office of the United States Trustee
           362 Richard B. Russell Building
           75 Ted Turner Drive, SW
           Atlanta, GA 30303

           New Vision Realty & Investments, Inc.
           3645 Marketplace Blvd.
           Unit 130-593
           Atlanta, GA 30344

           Nicole Carson
           The Carson Law Group, LLC
           225 Arthur Drive
           Mcdonough, GA 30252

           Wendy Godfrey
           Polsinelli PC
           1201 West Peachtree Street, NW
           Suite 1100
           Atlanta, GA 30309


          This 22nd day of June, 2022.

                                                          /s S. Gregory Hays
                                                         S. Gregory Hays
                                                         Chapter 7 Trustee

   Hays Financial Consulting, LLC
   2964 Peachtree Road, NW, Ste 555
   Atlanta, Georgia 30305
   (404) 926-0060
